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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                      CASE No. 0:16-CV-62360-CMA

  JOAN WILLIAMS,

         Plaintiff,

  vs.

  FIRST NATIONAL COLLECTION
  BUREAU, INC.

        Defendant.
  _________________________________/

         JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff JOAN WILLIAMS and Defendant FIRST NATIONAL COLLECTION

  BUREAU, INC., by and through respective undersigned counsel, pursuant to Rule 41(a)(1)(A)(ii)

  of the Federal Rules of Civil Procedure, hereby file this Joint Stipulation of Voluntary Dismissal

  with Prejudice of the above styled action. Plaintiff and Defendant shall each bear their own

  attorneys’ fees and costs. All parties have reviewed this stipulation.

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  DATED: March 29, 2017

  Respectfully submitted,


   /s/ Joseph C. Proulx         .                      /s/ Jibrael S. Hindi               .
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         AND
                                                          AND
   /s/ Dale T. Golden               .
  DALE T. GOLDEN, ESQ.                                 /s/ Thomas J. Patti                 .
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